  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 1 of 8. PageID #: 599848




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“Track 3”
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UHOLHILQIDYRURI2KLRSODLQWLIIV/DNH&RXQW\DQG7UXPEXOO&RXQW\DQGDJDLQVWGHIHQGDQWV&96

:DOPDUWDQG:DOJUHHQVSee Abatement Order DQGInjunction Order GRFNHWQRV  

7KHAbatement OrderDQGInjunction Order HDFKH[SODLQHGWKDWWKH&RXUWZRXOGODWHUDSSRLQWDQ

$GPLQLVWUDWRUWR  ³RYHUVHHWKHDEDWHPHQWIXQGVFROOHFWHGIURP'HIHQGDQWVDQGWKHSD\PHQWRI

DOORZDEOH DEDWHPHQW H[SHQVHV WKHUHIURP´ Abatement Order DW  DQG   ³RYHUVHH

FRPSOLDQFH´ZLWKWKHLQMXQFWLYHUHOLHIUHTXLUHPHQWVWKH&RXUWLPSRVHGXSRQGHIHQGDQWVInjunction

OrderDW7KH&RXUWGLUHFWHGWKHSDUWLHV³WRPHHWDQGFRQIHUDQGVXEPLWVXJJHVWLRQVIRUZKRP

WKH &RXUW VKRXOG DSSRLQW DV $GPLQLVWUDWRU´Judgment Order DW  GRFNHWQR see also

Abatement Order DW ³$SSRLQWPHQW>RIWKH$GPLQLVWUDWRU@ZLOOEHPDGHDIWHUWKH&RXUWUHFHLYHV



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         In re Nat’l Prescription Opiate Litig:/DW  1'2KLR$XJ
 judgment entered:/ 1'2KLR$XJ 
  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 2 of 8. PageID #: 599849




UHFRPPHQGDWLRQVIURPWKHSDUWLHVEXWWKH$GPLQLVWUDWRUZLOOEHFKRVHQE\WKH&RXUW´ 

        +DYLQJQRZUHFHLYHGWKHSDUWLHV¶VXJJHVWLRQVDQGSXUVXDQWWR)HG5&LY3 D  $ &

DQGWKH&RXUW¶VLQKHUHQWDQGHTXLWDEOHDXWKRULWLHVWKH&RXUWKHUHE\$332,1766SHFLDO0DVWHU

'DYLG5&RKHQDV$GPLQLVWUDWRUDQG0LFKDHO-%RUGHQDV$VVLVWDQW$GPLQLVWUDWRU%RWK6SHFLDO

0DVWHU&RKHQDQG0U%RUGHQDUHZHOONQRZQWRWKH&RXUWDQGWKHSDUWLHVKDYLQJZRUNHGRQWKLV

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WRJHWKHUKDYHWKHFDSDFLW\WRVHUYHIRUWKHHQWLUHQHFHVVDU\SHULRGRI\HDUVSee Judgment Order

DW RUGHULQJGHIHQGDQWVWRPDNHSD\PHQWVLQWRDQ$EDWHPHQW)XQG³DQQXDOO\RYHUWKHQH[W

\HDUV´ Injunction OrderDW VHWWLQJWKHWHUPRILQMXQFWLYHUHOLHIIRU\HDUV $V$GPLQLVWUDWRU

6SHFLDO0DVWHU&RKHQKDVWKHDXWKRULW\WRKLUHDVVLVWDQWVDQGHQJDJHDQ\OHJDOILQDQFLDODFFRXQWLQJ

LQYHVWPHQW DXGLWLQJ IRUHFDVWLQJ DQG RWKHU DGYLVRUV FRQVXOWDQWV LQGHSHQGHQW FRQWUDFWRUV DQG

DJHQWVKHGHHPVQHFHVVDU\RUDSSURSULDWH



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        7KH$GPLQLVWUDWRUVKDOOXQGHUWDNHWKHGXWLHVVHWRXWLQ6HFWLRQ9,,RIWKHAbatement Order

DQGVKDOODOVRRYHUVHHFRPSOLDQFHZLWKDOODVSHFWVRIWKHInjunction Order7KH$GPLQLVWUDWRUVKDOO

DOVR KDYH WKH DXWKRULW\ WR   PHHW VHSDUDWHO\ DQG WRJHWKHU ZLWK YDULRXV JURXSV WR IDFLOLWDWH

FRPPXQLFDWLRQVEHWZHHQDQGDPRQJVW D WKHSDUWLHV E DQ\UHOHYDQWRXWVLGHHQWLWLHVDQG F WKH


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XQGHUVLJQHGsee GRFNHWQRDQGWKH6SHFLDO0DVWHUKLUHG0U%RUGHQDVKLVDVVLVWDQW ZLWK&RXUW
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DQGDQ\RIWKHLUVWDIIRUFRQVXOWDQWV7KH$GPLQLVWUDWRUVKDOOHQGHDYRUWROLPLWH[SHQVHVWRWKRVH
WKDWDUHUHDVRQDEOHDQGQHFHVVDU\

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  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 3 of 8. PageID #: 599850




&RXUW   DVVLVW WKH &RXUW ZLWK PHGLDWLQJ UHVROXWLRQ RI DQ\ SDUW RI DQ\ GLVSXWH UHODWHG WR WKH

Abatement Order RUInjunction OrderRUDQ\RWKHU&RXUWRUGHU  SURYLGHDQDO\VLVRIWKHSDUWLHV¶

VXEPLVVLRQV WR WKH &RXUW LI QHFHVVDU\   HQVXUH FRRUGLQDWLRQ ZLWK DQ\ UHODWHG OLWLJDWLRQ RU

JRYHUQPHQWDODFWLRQ  DVVLVWZLWKSUHSDUDWLRQIRUDWWRUQH\FRQIHUHQFHV LQFOXGLQJIRUPXODWLQJ

DJHQGDV FRXUWVFKHGXOLQJDQGRQJRLQJFDVHPDQDJHPHQW  LQWHUSUHWDQ\UHODWHGDJUHHPHQWV

UHDFKHGE\WKHSDUWLHVDQG  GLUHFWVXSHUYLVHPRQLWRUDQGUHSRUWXSRQLPSOHPHQWDWLRQDQG

FRPSOLDQFHZLWKWKH&RXUW¶V2UGHUV7KH&RXUWPD\GLUHFWWKH$GPLQLVWUDWRUWRXQGHUWDNHDGGLWLRQDO

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H[HFXWLRQRIWKHmonetary portion RIWKHMXGJPHQWSHQGLQJDSSHDO´GRFNHWQRDW HPSKDVLV

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GHIHQGDQWVXQGHUWKHAbatement Order DUHRQKROGEXWKLVGXWLHVUHJDUGLQJRYHUVLJKWRIWKHFRQGXFW

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$GPLQLVWUDWRULVGLUHFWHGWRSURFHHGDFFRUGLQJO\



        %      &RPPXQLFDWLRQVZLWKWKH3DUWLHVDQGWKH&RXUW

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  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 4 of 8. PageID #: 599851




>$GPLQLVWUDWRU@PD\FRPPXQLFDWHH[SDUWHZLWKWKHFRXUWRUDSDUW\´7KH$GPLQLVWUDWRUPD\

FRPPXQLFDWHex parte ZLWKWKH&RXUWDWKLVGLVFUHWLRQZLWKRXWSURYLGLQJQRWLFHWRWKHSDUWLHV

UHJDUGLQJ ORJLVWLFV WKH QDWXUH RI KLV DFWLYLWLHV DQG RWKHU DSSURSULDWH SURFHGXUDO PDWWHUV  7KH

$GPLQLVWUDWRUPD\FRPPXQLFDWHex parte ZLWKDQ\SDUW\RULWVDWWRUQH\DVKHGHHPVDSSURSULDWH

IRUWKHSXUSRVHVRIHQVXULQJWKHHIILFLHQWDGPLQLVWUDWLRQDQGPDQDJHPHQWDQGRYHUVLJKWRIKLVGXWLHV

LQFOXGLQJIRUWKHSXUSRVHRIPHGLDWLQJRUQHJRWLDWLQJDUHVROXWLRQRISDUWRUDOORIDQ\GLVSXWHUHODWHG

WRKLVGXWLHV7KH$GPLQLVWUDWRUVKDOOQRWFRPPXQLFDWHWRWKH&RXUWDQ\VXEVWDQWLYHPDWWHUKH

OHDUQHGGXULQJDQ ex parte FRPPXQLFDWLRQZLWKDSDUW\XSRQZKLFKWKH&RXUWPD\ODWHUKDYHWRUXOH



        &      $GPLQLVWUDWRU¶V5HFRUG

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DQGILOHGDVDUHFRUGRIWKH>$GPLQLVWUDWRU¶V@DFWLYLWLHV´7KH$GPLQLVWUDWRUVKDOOPDLQWDLQQRUPDO

ELOOLQJUHFRUGVRIKLVWLPHVSHQWRQWKLVPDWWHUZLWKUHDVRQDEO\GHWDLOHGGHVFULSWLRQVRIWKHDFWLYLWLHV

DQG PDWWHUV ZRUNHG XSRQ  ,I WKH &RXUW DVNV WKH $GPLQLVWUDWRU WR VXEPLW D IRUPDO UHSRUW RU

UHFRPPHQGDWLRQ UHJDUGLQJ DQ\ PDWWHU WKH $GPLQLVWUDWRU VKDOO VXEPLW VXFK UHSRUW RU

UHFRPPHQGDWLRQLQZULWLQJIRUILOLQJRQWKHFDVHGRFNHW7KH$GPLQLVWUDWRUQHHGQRWSUHVHUYHIRU

WKHUHFRUGDQ\GRFXPHQWVFUHDWHGE\WKH$GPLQLVWUDWRUWKDWDUHGRFNHWHGLQWKLVRUDQ\RWKHUFRXUW

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        '      5HYLHZRIWKH$GPLQLVWUDWRU¶V5XOLQJV

        5XOH E  ' GLUHFWVWKH&RXUWWRVWDWH³WKHWLPHOLPLWVPHWKRGRIILOLQJWKHUHFRUGRWKHU

SURFHGXUHV DQG VWDQGDUGV IRU UHYLHZLQJ WKH >$GPLQLVWUDWRU¶@ RUGHUV ILQGLQJV DQG


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  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 5 of 8. PageID #: 599852




UHFRPPHQGDWLRQV´7KH$GPLQLVWUDWRUVKDOOHLWKHU  UHGXFHDQ\IRUPDORUGHUILQGLQJUHSRUW

UXOLQJRUUHFRPPHQGDWLRQWRZULWLQJDQGILOHLWHOHFWURQLFDOO\RQWKHFDVHGRFNHWYLD(OHFWURQLF&DVH

)LOLQJ ³(&)´ RU  LVVXHDQ\IRUPDORUGHUILQGLQJUHSRUWUXOLQJRUUHFRPPHQGDWLRQRQWKH

UHFRUGEHIRUHDFRXUWUHSRUWHU3XUVXDQWWR5XOH I  DQ\SDUW\PD\ILOHDQREMHFWLRQWRDQRUGHU

ILQGLQJUHSRUWUXOLQJRUUHFRPPHQGDWLRQE\WKH$GPLQLVWUDWRUZLWKLQFDOHQGDUGD\VRIWKHGDWH

LW ZDV ILOHG IDLOXUH WR PHHW WKLV GHDGOLQH UHVXOWV LQ SHUPDQHQW ZDLYHU RI DQ\ REMHFWLRQ WR WKH

$GPLQLVWUDWRU¶VRUGHUVILQGLQJVUHSRUWVUXOLQJVRUUHFRPPHQGDWLRQV$EVHQWWLPHO\REMHFWLRQ

WKHRUGHUVILQGLQJVUHSRUWVUXOLQJVDQGUHFRPPHQGDWLRQVRIWKH$GPLQLVWUDWRUVKDOOEHGHHPHG

DSSURYHGDFFHSWHGDQGRUGHUHGE\WKH&RXUWXQOHVVWKH&RXUWH[SOLFLWO\SURYLGHVRWKHUZLVH

        ,IWKH$GPLQLVWUDWRULVVXHVDQLQIRUPDOUXOLQJRURUGHUWKDWLVQRWRQWKHUHFRUG VXFKDV

UHVROXWLRQRIDGLVSXWHUHJDUGLQJWKHPHDQLQJRIDWHUPLQWKHInjunction Order HLWKHURUDOO\YLD

HPDLORUWKURXJKRWKHUZULWLQJDQGDSDUW\ZLVKHVWRREMHFWWRWKDWUXOLQJRURUGHUWKHSDUW\VKDOO

DVNWKH$GPLQLVWUDWRUWRIRUPDOL]HWKHUXOLQJRURUGHUE\ILOLQJLWRQWKHGRFNHWRUDSSHDULQJEHIRUH

DFRXUWUHSRUWHU6XFKUHTXHVWVKDOOEHPDGHZLWKLQWKUHHGD\VRILVVXDQFHRIWKHLQIRUPDORUGHURU

UXOLQJHOVHWKHRSSRUWXQLW\WRREMHFWVKDOOEHZDLYHG7KHSURFHGXUHVDQGGHDGOLQHVRXWOLQHGLQWKLV

VHFWLRQVKDOOWKHQDSSO\

        $VSURYLGHGLQ5XOH I  WKH&RXUWVKDOOGHFLGHde novo DOOREMHFWLRQVWRFRQFOXVLRQV

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  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 6 of 8. PageID #: 599853




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DJUHHGE\WKHSDUWLHVDQGVXEMHFWWRZDLYHURIREMHFWLRQWRZULWWHQRUGHUVRUUHFRPPHQGDWLRQVDV

QRWHG DERYH  7R WKH H[WHQW WKH $GPLQLVWUDWRU HQWHUV DQ RUGHU ILQGLQJ UHSRUW UXOLQJ RU

UHFRPPHQGDWLRQUHJDUGLQJDQLVVXHRIIDFWWKH&RXUWVKDOOUHYLHZVXFKLVVXHGHQRYRLIDQ\SDUW\

WLPHO\REMHFWVSXUVXDQWWRWKH5XOHVDQGZLWKLQWKHFDOHQGDUGD\WLPHSHULRGVHWIRUWKKHUHLQsee

5XOH I  )DLOXUHWRPHHWWKLVGHDGOLQHUHVXOWVLQSHUPDQHQWZDLYHURIDQ\REMHFWLRQWRWKH

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IL[LQJWKH>$GPLQLVWUDWRU¶V@FRPSHQVDWLRQ´see also5XOH J  DGGUHVVLQJFRPSHQVDWLRQ 7KH

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GHIHQGDQWVEHDULQJRIWKHFRVW7KH$GPLQLVWUDWRUDQG$VVLVWDQW$GPLQLVWUDWRUDQGWKHLU

FRQVXOWDQWVDQGVWDIIVKDOOLQFXURQO\VXFKIHHVDQGH[SHQVHVDVPD\EHUHDVRQDEO\QHFHVVDU\WR

IXOILOOKLVGXWLHVXQGHUWKLV2UGHURUVXFKRWKHU2UGHUVDVWKH&RXUWPD\LVVXH7KH&RXUWKDV

³FRQVLGHU>HG@WKHIDLUQHVVRILPSRVLQJWKHOLNHO\H[SHQVHVRQWKHSDUWLHVDQG>KDVWDNHQVWHSVWR@

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  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 7 of 8. PageID #: 599854




>$GPLQLVWUDWRU@ILOHVDQDIILGDYLWGLVFORVLQJZKHWKHUWKHUHLVDQ\JURXQGIRUGLVTXDOLILFDWLRQXQGHU

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IRUKLVGLVTXDOLILFDWLRQXQGHU86&RULIDJURXQGIRUGLVTXDOLILFDWLRQLVGLVFORVHGWKDW

WKH3DUWLHVKDYHFRQVHQWHGVXEMHFWWRWKH&RXUW VDSSURYDOWRZDLYHWKHGLVTXDOLILFDWLRQ



             &RRSHUDWLRQ

       7KHSDUWLHVDQGWKHLUFRXQVHOLQFOXGLQJWKHLUVXFFHVVRUVLQRIILFHDJHQWVDQGHPSOR\HHV

VKDOOSURYLGHIXOOFRRSHUDWLRQWRWKH$GPLQLVWUDWRUDQGREVHUYHIDLWKIXOO\WKHUHTXLUHPHQWVRIDQ\

RUGHUVRIWKH&RXUWDQGUXOLQJVE\WKH$GPLQLVWUDWRU7KH3DUWLHVVKDOOWLPHO\FRPSO\ZLWKUXOLQJV

RIWKH$GPLQLVWUDWRULVVXHGSXUVXDQWWRWKLV2UGHU3XUVXDQWWR5XOH F  WKH$GPLQLVWUDWRU

PD\LIDSSURSULDWH³LPSRVHRQDSDUW\DQ\QRQFRQWHPSWVDQFWLRQSURYLGHGE\5XOHRUDQG

PD\UHFRPPHQGDFRQWHPSWVDQFWLRQDJDLQVWDSDUW\DQGVDQFWLRQVDJDLQVWDQRQSDUW\´$VDQDJHQW

DQGRIILFHURIWKH&RXUWWKH$GPLQLVWUDWRU DQGWKRVHZRUNLQJDWKLVGLUHFWLRQ VKDOOHQMR\WKHVDPH

SURWHFWLRQVIURPEHLQJFRPSHOOHGWRJLYHWHVWLPRQ\DQGIURPOLDELOLW\IRUGDPDJHVDVWKRVHHQMR\HG

E\RWKHUIHGHUDOMXGLFLDODGMXQFWVSHUIRUPLQJVLPLODUIXQFWLRQV



    $FFHVVWR,QIRUPDWLRQ

         7KH SDUWLHV ZLOO PDNH UHDGLO\ DYDLODEOH WR WKH $GPLQLVWUDWRU DQ\ DQG DOO LQGLYLGXDOV



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         See, e.g., Atkinson-Baker & Assocs., Inc. v. Kolts)G WK&LU
 DSSO\LQJWKHGRFWULQHRIDEVROXWHTXDVLMXGLFLDOLPPXQLW\WRD6SHFLDO0DVWHU 

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  Case: 1:17-md-02804-DAP Doc #: 4652 Filed: 09/30/22 8 of 8. PageID #: 599855




LQIRUPDWLRQ GRFXPHQWV PDWHULDOV SURJUDPV ILOHV GDWDEDVHV VHUYLFHV IDFLOLWLHV DQG SUHPLVHV

XQGHUWKHLUFRQWUROWKDWWKH$GPLQLVWUDWRUUHTXLUHVWRSHUIRUPKLVGXWLHV7KHSDUWLHVZLOOPDNH

UHDGLO\DYDLODEOHWRWKH$GPLQLVWUDWRUDQ\DQGDOOIDFLOLWLHVILOHVGDWDEDVHVFRPSXWHUSURJUDPVDQG

GRFXPHQWVQHFHVVDU\WRIXOILOOWKH$GPLQLVWUDWRU¶VIXQFWLRQVXQGHUWKLV2UGHU

        7KH $GPLQLVWUDWRU PD\ UHTXLUH UHSRUWV IURP DQ\ SDUW\ LQ D IRUPDW VSHFLILHG E\ WKH

$GPLQLVWUDWRUDVUHDVRQDEO\UHTXLUHGWRHQDEOHWKH$GPLQLVWUDWRUWRSHUIRUPDOODVVLJQHGGXWLHV

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